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ATTORNEYS FOR THE TRUSTEE

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION

IN RE:                                            §
                                                  §
LATITUDE SOLUTIONS, INC.,                         §           CASE NO. 12-46295-rfn7
                                                  §
              DEBTOR.                             §

                   TRUSTEE’S MOTION FOR AUTHORITY TO INCUR
                UNSECURED DEBT, COMBINED WITH BRIEF IN SUPPORT

TO THE HONORABLE RUSSELL F. NELMS, UNITED STATES BANKRUPTCY JUDGE:

         Carey Ebert (the “Trustee”), in her capacity as the chapter 7 trustee for Latitude

Solutions, Inc. (the “Debtor”), files this Motion for Authority Incur Unsecured Debt, Combined

with Brief in Support (the “Motion”), and in support thereof would respectfully show unto this

Court as follows:


                                        I. BACKGROUND

         1.      On November 9, 2012, the Debtor filed a voluntary petition in this Court for relief

under chapter 7 of the United States Bankruptcy Code. The Trustee was appointed the chapter 7

trustee, and she continues to serve in that capacity.

         2.      The Debtor is a publicly traded corporation. Prior to the bankruptcy filing, the

Debtor designed, manufactured, and leased industrial water purification units (the “Units”) for

the purpose of water remediation.       The Debtor’s bankruptcy estate includes approximately

fifteen complete (or nearly complete) water purification Units and the intellectual property,

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equipment, machinery, parts, and chemicals related to the water purification business. Most of

the Debtor’s tangible assets are located at leased premises in Colorado Springs, Colorado and

Searcy, Arkansas. The Trustee is concerned about the preservation of these assets because the

Units are very valuable (costing approximately $500,000 or more to manufacture) and because

some of the Units were vandalized, cannibalized, and/or harmed prior to the Trustee’s

appointment and prior to her ability to take possession of the assets. The Trustee desires to

insure that no further damage is done to any of these Units and that they are preserved for either

their subsequent sale by the Trustee or their utilization in any chapter 11 reorganization effort, as

will be explained below.

       3.      The Trustee has been working diligently to investigate, evaluate, and administer

the Debtor’s bankruptcy estate. The Trustee (a) held an original and one continued meeting of

creditors, (b) conducted additional investigations of the Debtor’s assets, liabilities, and financial

affairs, (c) located, took control of, and secured computers, books and records, vehicles,

machinery, and equipment of the Debtor, (d) engaged counsel, accountants, and two auctioneers

to assist her in the case, and (e) filed motions to sell some of the Debtor’s assets by public

auction.

       4.      A hearing was held on February 19, 2013 on the Trustee’s motion to sell eleven of

the Debtor’s water purification Units and related equipment, machinery, and parts at the Searcy,

Arkansas location. Two groups of the Debtor’s shareholders objected, arguing that the Trustee

should delay the sale to explore leasing options and possibly convert the case to chapter 11. At

the request of both groups of objecting shareholders, the Trustee agreed to postpone the hearing

to consider the shareholders’ proposals.




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          5.   One group of those shareholders, which is represented by John Anderson

(collectively, the “Anderson Shareholders”), stated their intention to request conversion of the

Debtor’s case to chapter 11, obtain post-petition financing, re-start the Debtor’s business, and

propose a chapter 11 plan that will pay all creditors in full.       The Anderson Shareholders

informed the Trustee that they have the ability to obtain post-petition financing and re-start the

Debtor’s business if the case is converted to chapter 11. They informed the Trustee that they

intend to move quickly and will be able to have a hearing on a motion to convert within the next

30 to 45 days (subject, of course, to this Court’s schedule).

          6.   The Trustee believes that creditors will likely receive a higher distribution if the

Anderson Shareholders are able to succeed in converting the case to chapter 11 and re-starting

the Debtor’s business, compared to what creditors would likely receive through immediate

liquidation in chapter 7. The Trustee also believes that the Anderson Shareholders have a

reasonable possibility of succeeding in their goals. Therefore, the Trustee believes it will be in

the best interest of creditors and the bankruptcy estate to allow the Anderson Shareholders a

reasonable opportunity to pursue their goals.

          7.   Based upon information from the Anderson Shareholders and counsel for the

other group of shareholders that objected to the Trustee’s sale motion, the Trustee believes there

may be opportunities to lease some of the Debtor’s water purification Units to third parties on

terms that will be favorable to creditors and the bankruptcy estate. Even if the efforts of the

Anderson Shareholders to convert the case and try to confirm a chapter 11 plan fail, the Trustee

needs to borrow monies in order to preserve the Units and generate funds for payment of

creditors by operating the business under section 721 of the Bankruptcy Code for a limited

period.



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       8.      This will enhance the Trustee’s ability to gain the highest and best price for the

estate property in the event of a subsequent sale, if the reorganization efforts prove unfruitful. In

order to operate the business, the Trustee is in need of immediate funds, not only to make the

Units ready for lease, but also to pay for the costs, preservation, and storage needed for these

Units and the other property of the estate. Further, the Trustee needs to borrow money for these

efforts immediately, because she has past-due and ongoing administrative expenses relating to

costs of storage of the Units and other property of the estate.

       9.      The Trustee needs immediate additional funds to protect and preserve the

Debtor’s assets. Specifically, among other things, the Debtor’s bankruptcy estate will incur post-

petition rent at the Colorado and Arkansas locations and will have to pay a person to monitor the

Debtor’s assets at the Arkansas location.

       10.     One of the Anderson Shareholders, Ralph Kidd (the “Lender”), recently

transferred $30,000.00 (the “Loan”) to the Trustee to use as a post-petition loan (subject, of

course, to this Court’s approval) to protect and preserve the Debtor’s assets until rulings can be

obtained on conversion of the case and chapter 11 post-petition financing; and if the

reorganization effort fails, to protect and preserve these assets to gain the highest and best price

if the Trustee ultimately liquidates this estate property. The terms of the proposed loan are:

               (a)     No interest.

               (b)     Allowable under 11 U.S.C. § 503(b)(1) as an administrative expense, but

       to be repaid only as follows:

                       (i)     If this case is converted to chapter 11 and a chapter 11 plan is

               confirmed, the Lender will receive a 10% non-dilutable portion of all equity

               securities in the reorganized Debtor, whether common stock, preferred stock, or



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              any other form of options, warrants, or rights to stock (hereinafter the “Equity”) in

              the reorganized Debtor. The Equity will be non-dilutable upon approval by the

              Court in consideration for the $30,000.00 Loan made to the Trustee as an

              administrative loan. The Loan will be solely satisfied through the conversion of

              the Loan to the non-dilutable 10% Equity in the reorganized Debtor, if this case is

              converted to chapter 11 and a plan of reorganization is subsequently confirmed.

                      (ii)   If this case is not converted to chapter 11 or if a chapter 11 plan is

              not confirmed, then the entire loan will be forgiven without any further obligation

              of the Trustee or the Debtor’s bankruptcy estate.

              (c)     No subsequent order of this Court, no provision of any chapter 11 plan

       subsequently confirmed, nor any provision of any confirmation order subsequently issued

       herein, confirming a chapter 11 plan for the above debtor in the future will be allowed to

       modify or alter the provisions of this order, approving the $30,000 Loan and its

       repayment in the form of a non-dilutable 10% portion of the Equity in the reorganized

       Debtor granted to the Lender; and this Order will be deemed a Final Order.              No

       subsequent order of this Court or chapter 11 plan or confirmation order of a plan issued

       subsequent to this Order will be allowed to alter or impair in any way the aforesaid

       Equity to be issued to the Lender in repayment of the Loan as described in this Motion

       without the express written consent of the Lender.

       11.    Concurrently with the filing of this motion, the Trustee is filing a separate motion

requesting authority to operate the business of the Debtor for a limited period of time under

section 721 of the Bankruptcy Code. Thus, under section 364(a), the Trustee should be able to

obtain unsecured credit both in the ordinary course of business and, to the extent the financing



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requested hereunder is outside the ordinary course of business, section 364(b) states that the

Court, after notice and a hearing, may authorize the Trustee to obtain unsecured credit other than

in the ordinary course of business as an administrative expense; and in view of the special terms

of the $30,000 Loan in this situation, the Trustee prays for an order under section 364 of the

Bankruptcy Code to authorize the Loan described above.

       12.     The proposed $30,000 Loan will provide needed immediate funding to the

Trustee in order to pay for the costs for and preservation of the estate property, which will both

enhance the possibility of a successful reorganization effort or, in the event that reorganization

does not occur, the aforesaid $30,000 Loan will enhance and preserve the value of the property

of the estate and, therefore, enhance the Trustee’s ability to gain the highest and best price for

the estate property when sold.      The $30,000 Loan is both vital to the preservation and

maintenance of the property of the estate and its value, as well as to preserving and

maintaining the potential going concern value of the Debtor in order to help facilitate the

possibility of converting the case to chapter 11 and confirming a plan of reorganization.

       13.     The Trustee has an immediate need of the $30,000 Loan and knows of no other

source for such immediate funding on such favorable terms and conditions which preclude any

risk that unsecured creditors may be prejudiced or that any dividend to unsecured creditors

might be diminished by the repayment of this Loan. The proposed $30,000 Loan is not only

the most immediate source of funding to cover costs of preservation and storing the estate’s

assets, but the terms and conditions are extremely favorable and this motion reflects the

Trustee’s exercise of her business judgment consistent with her fiduciary duties.             The

immediate granting of this motion is clearly in the best interest of the estate and all creditors.

The $30,000 Loan constitutes reasonable equivalent value and fair consideration for the non-



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dilutable 10% Equity in the reorganized Debtor to which the Lender will be solely entitled for

the satisfaction of this Loan because the Lender takes the risk that this case might not be

converted to chapter 11 and that a chapter 11 plan of reorganization might not be confirmed.

The Lender is acting in good faith and is entitled to the protection provided by section 364(e)

of the Bankruptcy Code. The Trustee and the Lender have acted in good faith and negotiated

the terms of this $30,000 Loan on an arms-length basis.

       14.     The Trustee requests that an expedited hearing be set on this motion because the

funds are needed immediately to preserve and protect the property of the estate. The Trustee will

give immediate notice to all creditors and parties-in-interest listed on the Master Matrix list filed

by the Debtor and preserved by the Clerk of Court, if an expedited hearing is granted on this

motion.


                            II. ARGUMENT AND AUTHORITIES

       15.     Pursuant to section 364(b) of the Bankruptcy Code, “[t]he Court, after notice and

hearing, may authorize the trustee to … incur unsecured debt other than [in the ordinary course

of business], allowable under section 503(b)(1) of this title as an administrative expense.”

       16.     The Trustee believes that authorizing the Trustee to operate the Debtor’s business

for a limited time will allow the Trustee to request and gain financing under section 364 of the

Bankruptcy Code for the cost of preservation of these valuable assets (which will be necessary in

the event they are liquidated to gain the highest and best value for such Units in order to generate

the largest amount of monies to pay unsecured creditors) and will allow the Anderson

Shareholders an opportunity to pursue their goals of converting the case to chapter 11 and

obtaining chapter 11 post-petition financing. This $30,000 Loan is extremely favorable to the




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creditors in this case because repayment is payable only in stock of the reorganized Debtor.

There is no risk to unsecured creditors.


                                        III. CONCLUSION

          WHEREFORE, PREMISES CONSIDERED, the Trustee requests that this Court enter an

order (a) authorizing her to incur unsecured debt under section 364(b) of the Bankruptcy Code in

the amount of $30,000.00 on the terms stated above and (b) granting the Trustee such other and

further relief, at law or in equity, to which she may be justly entitled.

                                               Respectfully submitted,

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                                               By: /s/ Kenneth A. Hill
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                                               ATTORNEYS FOR THE TRUSTEE

                                  CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was served
concurrently with filing (a) by ECF upon all persons who have filed ECF appearances in this
case and (b) by first class mail, postage prepaid, on the persons and entities set forth on the
attached service list. The service list is omitted from service copies to avoid unnecessary
copying and postage charges, but a copy can be obtained free of charge by making a written
request to Charity DeVille at Quilling, Selander, Lownds, Winslett & Moser, P.C., 2001 Bryan
Street, Suite 1800, Dallas, Texas 75201, fax (214) 871-2111, e-mail cdeville@qslwm.com.

                                               /s/ Kenneth A. Hill
                                               Kenneth A. Hill
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